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NewsRoom

2/16/06 St. Louis Post-Dispatch D1
2006 WLNR 2737534

St. Louis Post-Dispatch (MO)
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February 16, 2006
Section: Metro
Arrests back unions' claims
Nancy Cambria ST. LOUIS POST-DISPATCH Reporter Mark Schlinkmann contributed to this report.
O'FALLON

The controversy: City and union officials suspected illegal immigrants have been working at a lower-income housing project
in O'Fallon for less than the going wage.

What's next: The arrests pave the way for the government to investigate the employer and whether it knowingly hired illegal
immigrants.

The arrest of five workers on immigration charges on their way to an area construction project is the evidence watchdogs say
they need to prove that poor labor practices are taking place at the site.

O'Fallon police said they discovered the workers inside a passenger van in a routine speeding stop Friday morning. An
investigation revealed that the driver and the passengers were living in the country illegally, police said.

The group was on its way to work at the O'Fallon Lakes apartment complex, a housing project for lower-income people off
Veterans Memorial Highway, the police report said.

The men were taken into custody by the federal Immigration and Customs Enforcement office, said Carl Rusnok, an agency
spokesman. Four of the men had prior immigration violations, and the fifth had a criminal record, which means each is subject
to deportation hearings, he said.

O'Fallon City Administrator Robert Lowery said the arrests provided the government with proof that illegal immigrants were
working at the site and opened the door for a needed investigation.

"The reason (the government) was doing the cold shoulder and didn't want to come here was because we didn't have any kind
of proof," Lowery said.

When such arrests are made, Rusnok said it was customary for his agency to investigate the employer and the circumstances
surrounding the employment to determine whether illegal immigrants were knowingly hired. Rusnok said he could not name
the employer or comment specifically on investigations. One of the men arrested told police they were working for a contractor
based out of Texas.

 

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The project, originally introduced to O'Fallon aldermen by the Gundaker Commercial Group last year, is being primarily
developed through Related Capital of New York and constructed through NRP Contractors, a Cleveland-based developer that
routinely subcontracts with out-of-state contractors. It is backed by $14.6 million in tax-exempt bonds issued by the Industrial
Development Authority of St. Charles County in August 2004.

Gundaker Commercial Group could not be reached for comment.

Rick Bailey, a principal with NRP, said the company was unaware of the arrests or of any illegal worker activity on the site.
He said NRP was not liable for the practices of its subcontractors.

For members of several local trade unions, including carpenters, bricklayers and electricians, the incident is proof that the
developers have been using illegal labor. Representatives from several unions have repeatedly staged protest rallies at the
construction site over the past two months.

Tom Heinsz, Carpenters' District Council Director of Organizing, said most out-of-state contractors failed to pay a prevailing
wage -- an industry wage standard set by the average professional rate in a particular area. The local carpenter's union, which
pays an average prevailing wage of $26 an hour, was underbid by Texas firm Duo-Mark Construction by more than $1 million.
The situation has also prompted action by elected officials. Last month, O'Fallon Alderman Bob Patek successfully introduced
an ordinance requiring contractors and subcontractors receiving any public money to supply workers compensation, pay a
prevailing wage and verify U.S. citizenship or lawful status of all workers.

"Everybody needs affordable housing, but this isn't the way to do it," Patek said.

The St. Charles County Council is also grappling with the issue. It is currently withholding its $56,700 subsidy to the Economic
Development Center of St. Charles County, which runs the authority. It is thinking of ways to ensure that the Industrial
Development Authority levels the playing field between local and out-of-state companies. In addition to O'Fallon Lakes, the
authority also issued $12.9 million in bonds for a similar housing project in Wentzville called Peine Lakes.

-_—- Index References ----
Company: INDUSTRIAL DEVELOPMENT AUTHORITY OF JEFFERSON COUNTY (THE)

News Subject: (Social Issues (1SO05); Immigration & Naturalization (1IM88); Labor Unions (1LA31); HR & Labor
Management (1HR87); Business Management (1BU42))

Industry: (Housing (1HO38); Residential Real Estate (1RE67); Real Estate (1RES7))
Region: (Texas (1TE14); North America (1NO39); Americas (1AM92); USA (1US73))
Language: EN

Other Indexing: (ECONOMIC DEVELOPMENT CENTER: FEDERAL IMMIGRATION AND CUSTOMS
ENFORCEMENT; GUNDAKER COMMERCIAL GROUP; INDUSTRIAL DEVELOPMENT AUTHORITY; NRP; O)
(Alderman Bob Patek; Carl Rusnok; Fallon Lakes; Lowery; O; O'Fallon; Patek; Representatives; Rick Bailey; Robert Lowery:
Rusnok; Tom Heinsz)

Keywords:
POLICE:ARREST:ILLEGAL:IMMIGRATION; CITY ;OFFICIAL:SALARY:HOUSING;DEVELOPMENT:INVESTIGATION:GOVERN

Edition: Third Edition

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NewsRoom

2/17/06 St. Louis Post-Dispatch C1
2006 WLNR 2821447

St. Louis Post-Dispatch (MO)
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February 17, 2006
Section: Metro
Treasurer blasts project's officials
Nancy Cambria ST. LOUIS POST-DISPATCH Mark Schlinkmann of the Post-Dispatch contributed to this report.
O'FALLON

In the wake of the arrest and deportation of five illegal immigrants who were heading to work at a housing construction site
in O'Fallon last week, state Treasurer Sarah Steelman blasted the project's financiers and developers. Steelman said Thursday
that the use of illegal immigrants was inexcusable and intolerable, particularly on projects subsidized by tax credits and tax-
exempt bonds.

"This state will not do business with developers who think they can rip off the taxpayers and workers of Missouri," she said.

Steelman said the Gundaker Commercial Group had misled her and other members of the Missouri Housing Development
Commission about the labor being used at O'Fallon Lakes, an affordable housing project off Veterans Memorial Parkway.

Officials at Gundaker said Thursday that they were also appalled to learn illegal workers were being used at the site.

Steelman said Gundaker officials had assured commissioners last May that they would use local labor on the project. Gundaker
officials were called before the commission at that time to respond to rumors that contractors were using out-of-state labor and
illegal immigrants in both O'Fallon and a similar apartment project in Wentzville, she said.

"I felt we had assurances from Gundaker," Steelman said. "I had asked periodically about this, and the staff of MHDC was
not aware of any problems."

Steelman, who heads the housing commission, said Mike Hejna, president and CEO of Gundaker Commercial Group, had also
committed to using local contractors on the project. Gov. Matt Blunt is also a member of the nine-person commission, which
administers state and federal low income housing tax credits.

The commission awarded $600,000 in low income housing tax credits to the project and distributed an additional $741,000
in federal tax credits to it. The project is also backed by $14.6 million in tax-exempt bonds through the St. Charles County
Industrial Development Authority.

In addition to Gundaker Commercial, two other companies are also under fire for their involvement in the project: Related
Capital of New York, which is the controlling developer, and NRP Contractors of Cleveland, which is the contractor. NRP
employs several out-of-state subcontractors to work on the site. Rick Bailey, a principal with NRP, said Wednesday that the
company was not liable for the labor practices of its subcontractors.

 

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Hejna said Friday that Gundaker would not tolerate the use of illegal workers at the construction site.

"It's a grave issue," Hejna said. "If NRP does not correct it, we'll legally petition them and the lender and ask that they be
removed."

Hejna said Gundaker is a minority partner in the project and that Related Capital of New York has the ultimate authority to
dismiss the contractor. Gundaker and one other local construction group had bid against NRP for the construction project, but
Hejna said Gundaker was underbid by $4 million after the commission's May meeting.

Steelman said that officials from Gundaker, NRP and Related Capital have been asked to appear today at the commission's
regular meeting.

"In this case, it is wrong for them to be using these tax credits when they're using illegal immigrants and underbidding other
businessmen in the area for that public project," she said.
Local labor unions are applauding the scrutiny.

"Finally we are able to get somebody's attention," said Tom Heinsz of the local carpenters union. "Let's hope it changes for the
local businessman. He's the one who has to compete with this stuff."

The county's Industrial Development Authority has been under pressure by the County Council to tighten its rules for contractors
on projects helped by tax-exempt bonds from the authority.

Greg Prestemon, the authority's executive director, said Thursday that he was deeply disappointed with the contractors at
O'Fallon Lakes and that the authority would meet today to discuss enacting new controls on employment practices of contractors
on projects it aids.

---- Index References ----

Company: INDUSTRIAL DEVELOPMENT AUTHORITY OF JEFFERSON COUNTY (THE)

News Subject: (Social Issues (1SO005); Taxation (1TA10); Socio Economic Groups (1SO18))

Industry: (Housing (1HO38); Accounting, Consulting & Legal Services (1AC73); Real Estate (1RES7))
Region: (Missouri (1MI10); North America (1NO39); New York (1NE72); Americas (1AM92); USA (1US73))
Language: EN

Other Indexing: (CHARLES COUNTY INDUSTRIAL DEVELOPMENT AUTHORITY; COUNTY COUNCIL:
GUNDAKER; GUNDAKER COMMERCIAL; GUNDAKER COMMERCIAL GROUP; GUNDAKER " STEELMAN;:
INDUSTRIAL DEVELOPMENT AUTHORITY; MHDC; MISSOURI HOUSING DEVELOPMENT COMMISSION; NRP:
STEELMAN; TREASURER; TREASURER SARAH STEELMAN) (Fallon; Fallon Lakes; Finally; Greg Prestemon; Hejna:
Lakes; Matt Blunt; Mike Hejna; O'Fallon; Rick Bailey; Tom Heinsz)

Keywords:
HOUSING:DEVELOPMENT:CONSTRUCTION;:BUSINESS;:ILLEGAL;EMPLOYMENT;STATE;REACTION;:Gundaker
Commercial Group; MISCONDUCT

Edition: Second Edition

Word Count: 795

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NewsRoom

2/22/06 St. Louis Post-Dispatch B1
2006 WLNR 3097657

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February 22, 2006
Section: Metro
CEO finds 7 illegal immigrants at job site
Nancy Cambria ST. LOUIS POST-DISPATCH
O'FALLON

The crackdown After learning that an illegal immigrant was discovered at the site on Monday, the CEO of Gundaker went
and checked IDs himself.

The problem Racial profiling is a concern, says the leader of a Latino labor council.

A crackdown at the O'Fallon Lakes construction site by one of its developers resulted Tuesday in the arrest of seven illegal
immigrants -- just days after the state treasurer blasted the project's developers for employing illegal workers.

Police went to the site off Veterans Memorial Parkway on Tuesday afternoon after receiving a call that people were on the
site seeking worker identification.

Police expected to come to the aid of federal agents from the Immigration and Customs Enforcement agency, O'Fallon Capt.
Kyle Kelley said. What they found instead were nine employees in hard hats from Gundaker Commercial Group checking
identification papers.

"If they're not legal, then I don't want them on my building site," said Mike Hejna, president and CEO of Gundaker. "In terms
of civil rights, I may be in murky water, but at this point, I don't care. I'm not going to be a part of a project this is going to
have legal problems with the employment of illegal aliens."

The local issue mirrors national concerns about illegal immigrants and the country's immigration policies.

While responding to the site, an O'Fallon officer pulled over a van on Bryan Road for speeding and discovered seven passengers
who were later determined to be in the country illegally by the immigration agency, Kelley said.

On Thursday, state Treasurer Sarah Steelman, who chairs the Missouri Housing Development Corp., criticized companies
involved in the project -- Gundaker Commercial Group, NRP Contractors of Cleveland and Related Capital of New York --
after the arrest of five illegal immigrants en route to their project's work site on March 10. Hejna said he decided to personally
begin checking residence status and identification papers of all employees at the site after learning of another arrest at the project
Monday. In that case, police responded to a fight and discovered one of the participants was an illegal immigrant.

 

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Kelley said police are concerned that similar confrontations may erupt at the site as a way to force investigations on other
suspected illegal workers.

"Something needs to be addressed or taken care of before it escalates further," Kelley said.

Steelman said Tuesday that she is frustrated with the Immigration and Customs Enforcement agency, which would not confirm
to her whether the project was under investigation.

"When there are these statements in an official police report and one of the offenders says he is working and living in the country
illegally ... what other evidence do you need?" Steelman said.

Carl Rusnok, a spokesman for Immigration and Customs Enforcement, said the agency cannot comment on investigations, but
said "it is routine to make inquiries regarding a work situation in which illegal aliens have been found."

The Missouri Housing Development Corp. approved $1.4 million in federal and state tax credits to the developers, who are
building 266 affordable apartments. The credits are in addition to $14.6 million in tax-exempt bonds issued by the county
Industrial Development Authority; Related Capital is the primary holder of the bonds and the lead developer; NRP is the
contractor and has been using several out-of-state subcontractors on the site. Gundaker is a minority shareholder in the project
that will manage the completed apartments.

The housing agency will meet via teleconference today. Steelman said the group will take action to ensure illegal workers are
never used on any project using taxpayer money.

Rick Bailey, a principal with NRP, said he was unaware of the additional arrests and declined to comment further.
The situation has sparked concern among the Latino-American community in the metro area.

"We've got enough manpower and industry in the union here to go and get those jobs. If they want Hispanics to work in those
projects they should be paid equal through the union," said Francisco Martinez, a representative of the state chapter of the Union
Labor Council for Latin American Advancement. Martinez says he also worries about possible racial profiling in O'Fallon.

"We're concerned they may see this as an issue where we're all put into one category," Martinez said.

Stephen Legomsky, an international law professor at Washington University in St. Louis, said employers and law enforcement
can run into trouble if it appears investigations about residence status target a certain ethnic group.

"You cannot rely solely on ethnicity as a basis for asking questions," he said. "Even if the work force is predominantly perceived
as Latino and they start asking questions of everyone. I think it's something they could be called out on."

---- Index References --—-

Company: WASHINGTON UNIVERSITY; INDUSTRIAL DEVELOPMENT AUTHORITY OF JEFFERSON COUNTY
(THE)

News Subject: (Social Issues (1S005): Immigration & Naturalization (1IM88); Crime (1CR87); Smuggling & Illegal Trade
(1SM35); Minority & Ethnic Groups (1MI143))

Industry: (Housing (1HO38); Real Estate (1RES7))
Region: (Missouri (1MI10); North America (1NO39); Americas (1AM92); USA (1US73))

Language: EN

 

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Other Indexing: (CUSTOMS ENFORCEMENT: CUSTOMS ENFORCEMENT AGENCY; GUNDAKER: GUNDAKER
COMMERCIAL GROUP; IMMIGRATION: IMMIGRATION AND CUSTOMS ENFORCEMENT AGENCY:
INDUSTRIAL DEVELOPMENT AUTHORITY; LATINO; MISSOURI HOUSING DEVELOPMENT CORP; NRP; UNION
LABOR COUNCIL; WASHINGTON UNIVERSITY) (Carl Rusnok; Francisco Martinez; Hejna; Kelley; Kyle Kelley;
Martinez; Mike Hejna; Rick Bailey; Steelman; Stephen Legomsky; Treasurer Sarah Steelman)

Keywords: IMMIGRATION;:INVESTIGATION:ILLEGAL;EMPLOYMENT:CONSTRUCTION
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NewsRoom

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2006 WLNR 3457455

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February 28, 2006
Section: News
Arrests here shine light on illegal workers at building sites
Nancy Cambria ST. LOUIS POST-DISPATCH
O'FALLON
New rules in store?

After illegal immigrants were found working at a publicly financed construction project in O’Fallon, state and local authorities
look for ways to keep this from happening again.

People had been telling federal, state and local officials since April that something was not right at an O'Fallon construction site.

White vans with black, spray-painted windows arrived with workers before dawn and left after dusk. Workers labored seven
days a week, including over Thanksgiving and Christmas.

Already incensed by the use of out-of-state workers on a publicly subsidized project, local unions cried foul to anyone who
would listen. They alleged that the workers were illegal immigrants bused in from Texas by subcontractors. There was talk that
workers were paid in cash and that the money flowed out of the country via wire transfers to Mexico.

"We tried to get a whole lot of people to look at that job, and nobody wanted to bite on it," said Tom Heinsz, an area Carpenters
union official.

All that changed Feb. 10, when a van on its way to the site was stopped for speeding. Five illegal immigrants were arrested.
About a week later, eight more were taken into custody by immigration officials: seven who were found during a traffic stop
and one arrested for a fight on the construction site.

The case shouldn't be that surprising, even in a state with a relatively small number of illegal immigrants, said Jeff Passell, a
demographer with the Pew Hispanic Center, which studies immigration. Behind farming and cleaning, construction ranks third
in the concentration of illegal immigrant workers in the nation, he said.

Areas such as Arizona and Texas traditionally have had a high number of illegal immigrants building homes, but, Passell said,
illegal workers are now following construction jobs into new areas of the country. In the past 15 years, Missouri's estimated
population of illegal immigrants has increased from around 10,000 to more than 55,000, Passell said.

 

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While that is about half of 1 percent of the nation's estimated 10 million illegal immigrants, "it's not an insignificant increase,"
Passell said.

Rethinking policies In the aftermath of the O'Fallon arrests, state and local officials who issued millions in bonds and approved
tax credits for the project are struggling to find ways to ensure that legal labor practices are followed on publicly subsidized
projects.

In the future, both the state housing corporation and the county authority are considering requiring payrolls that certify the legal
status of workers, creating penalties for contractors and lenders, and asking employers to waive employee privacy rights so
they can gain access to construction sites for spot checks.

The Missouri Housing Development Commission granted the affordable housing apartment complex $1.4 million in state and
federal tax credits. The county's Industrial Development Authority, an offshoot of the county's Economic Development Center,
approved the project for $14.6 million in tax-exempt bonds.

"To say we were disappointed with the apparent actions of the contractor and subcontractor is an understatement," said Greg
Prestemon, the head of the Economic Development Center, which operates the Industrial Development Authority. "We're
extremely angry."

In October, O'Fallon City Administrator Robert Lowery said officials had been personally reassured by Gundaker Commercial
Group, the local developer affiliated with the $25 million project, that no improper labor practices were taking place. They
received similar assurances from the Economic Development Center.

"As far as they were concerned, this was a city of O'Fallon problem," Lowery said.

Lowery said the police reports proved what the union and city officials had suspected all along. Through broken English, one of
the illegal immigrants told police he owed a man he called his uncle $1,100 for his help to enter the country, and he worked as
a laborer on the site to repay him. He was paid $8 an hour -- well below the prevailing union wage of about $26 -- and worked
nine hours a day, seven days a week and sent most of his money to his family in Jalisco, Mexico.

Others told police they were paid in cash every Friday by a site supervisor. All of them said they worked for a subcontractor
out of Texas. The federal Immigration and Customs Enforcement Agency found one of the workers was a juvenile. He was
arrested with his father.

New accountability Prestemon said the Industrial Development Authority had little reason to suspect such labor abuses "in
large part due to the strong reputation and name of Gundaker." The deal had been introduced to the authority by Mike Hejna,
president and CEO of Gundaker, a local company that reported $68 million in revenue in 2004. The construction company later
hired for the project, NRP Contractors of Cleveland, is one of the top producers of affordable housing in the nation. And its
primary financier, Related Capital of New York, reports $8 billion in development and refers to itself as the national leader in
financing government sponsored housing projects.

Rick Bailey, a principal with NRP, insisted that the company knew nothing about illegal labor on the site and deferred liability
to its subcontractors. Andy Weil, managing director of Related Capital in New York, said his company was as shocked as
everyone else about the workers and had never encountered illegal labor problems on other projects.

In April, amid growing rumors that the contractors on the site were breaking federal law by using illegal workers, Missouri
Treasurer Sarah Steelman and former state Rep. Bill Luetkenhaus, both of the Missouri Housing Development Commission,
asked Hejna to respond to the commission. Both said Hejna had assured them that the workers would be local and the labor
legal. Luetkenhaus said that the response had appeased staff and board members but that they should have been looking harder.

Prestemon said once the bonds are sold, the authority has no ability to stop or impose sanctions on the project.

 

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Hejna said Gundaker would never again structure a deal in which it was not the contractor. Despite protests from NRP, Hejna
said workers from Gundaker now conduct morning identification checks at the site and turn away workers who fail to have
the proper paperwork.

NRP contractors continue to work on the site, and the project's main financial backer, Related Capital, continues to employ
NRP. Lowery said he believes Hejna's efforts have helped to reduce illegal workers at the site, but he thinks justice has not
been served.

"Somebody has to be accountable here," he said. "We seem to punish the workers, and we let the contractors and subcontractors
get away with this."

STLtoday.com/links Read earlier coverage of the immigration story.
---- Index References ----

Company: INDUSTRIAL DEVELOPMENT AUTHORITY OF JEFFERSON COUNTY (THE); DEVELOPMENT CENTER:
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News Subject: (Social Issues (1S005); Economics & Trade (1EC26); Economic Development Agencies (1EC15): Immigration
& Naturalization (1IM88); Crime (1CR87); Smuggling & Illegal Trade (1SM35); Government (1GO80); Local Government
(1L075); Economic Development (1EC65))

Industry: (Construction Financing (1CO12); Construction Regulatory (1CO33); Real Estate (1RES7); Housing (1HO38);
Residential Real Estate (1RE67): Real Estate Regulatory (1RE5S3); Construction (1CO11))

Region: (Missouri (1MI10):; North America (1NO39); New York (1NE72): Mexico (1ME48); USA (1US73); Americas
(1AM92); Texas (1TE14))

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Other Indexing: (DEVELOPMENT CENTER; ECONOMIC DEVELOPMENT CENTER; FEDERAL IMMIGRATION
AND CUSTOMS ENFORCEMENT AGENCY; GUNDAKER; GUNDAKER COMMERCIAL GROUP; INDUSTRIAL
DEVELOPMENT AUTHORITY; MISSOURI HOUSING DEVELOPMENT COMMISSION; NRP; PEW HISPANIC
CENTER; STLTODAY COM) (Andy Weil; Bill Luetkenhaus; Christmas; Greg Prestemon; Hejna; Jeff Passell; Lowery:
Luetkenhaus; Mike Hejna; Missouri; Passell; Prestemon; Rethinking; Rick Bailey; Robert Lowery; Sarah Steelman; Tom
Heinsz: White)

Keywords: IMMIGRATION; ILLEGAL;CONSTRUCTION:GOVERNMENT CONTRACT;LABOR;EMPLOYMENT
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NewsRoom

3/18/06 St. Louis Post-Dispatch A12
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Copyright © 2006 St. Louis Post-Dispatch

March 18, 2006
Section: News
Tax credits may be lost over illegal workers
Nancy Cambria ST. LOUIS POST-DISPATCH
O'FALLON, MO.

The Missouri Housing and Development Commission is threatening to withhold tax credits on a housing project in O'Fallon
where illegal immigrant workers were discovered last month.

On Friday, the commission agreed that Related Capital and CharterMac of New York, Gundaker Commercial Group of St.
Louis and NRP Contractors of Cleveland must prove they have complied with all applicable labor laws on O'Fallon Lakes, an
affordable-housing complex, before it would certify final construction costs.

If the commission does not certify the costs on the $25 million project, the partners will be unable to use $1.4 million in annual
state and federal tax credits awarded by the commission for 10 years, said its chairwoman, Missouri Treasurer Sarah Steelman.

"It's really the only teeth we can put into a project like that where we are not the direct issuer of the bonds," Steelman said.

The partners will have to provide proof of legal status for every worker on the site as well as undergo a cost analysis review
of the project by the commission. The review will determine whether the reported labor costs mesh with the substantial work
done on the project, Steelman said.

Last month O'Fallon police arrested 13 illegal immigrants who said they had been working at the apartment complex off Veterans
Memorial Parkway. They said they worked seven days a week on the site and were paid $8 an hour cash by NRP subcontractors.

The discovery put the state housing commission and the county's Industrial Development Authority under intense political
scrutiny. The county authority had approved $14.6 million in tax-exempt bonds for the project.

Both agencies have since grappled with ways their agencies can enforce labor laws on subsidized projects. At Friday's
commission meeting, members also agreed to take a hard line on any future project in which illegal workers are discovered.

Steelman said that a representative from NRP Contractors was at Friday's meeting but that his comments failed to convince her
that appropriate action had been taken since the arrests.

-_—- Index References ----

Company: INDUSTRIAL DEVELOPMENT AUTHORITY OF JEFFERSON COUNTY (THE)

 

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News Subject: (Taxation (1TA10); Local Taxing Authorities (1L066))

Industry: (Accounting, Consulting & Legal Services (1AC73); Construction Regulatory (1CO33); Real Estate (1RE57):
Residential Construction (1RE61):; Housing (1HO38); Real Estate Regulatory (1RE53); Construction (1CO11))

Region: (Missouri (1MI10); North America (1NO39); USA (1US73):; Americas (1AM92))
Language: EN

Other Indexing: (GUNDAKER COMMERCIAL GROUP; INDUSTRIAL DEVELOPMENT AUTHORITY; MISSOURI
HOUSING AND DEVELOPMENT COMMISSION; MISSOURI TREASURER SARAH; NRP) (Steelman)

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NewsRoom

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2006 WLNR 6722276

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Section: Metro
Work stalls on complex after raid
Nancy Cambria ST. LOUIS POST-DISPATCH

O'FALLON
O'Fallon project delayed
Since the arrest of illegal workers, work has virtually stopped on a low-income housing complex.
Restarting the project

Gundaker Commercial Group wants to become the lead construction company, using local union workers.

Nearly two months after illegal immigrant workers were discovered at the construction site of a low-income housing complex,
work is nearly at a standstill, and the scheduled October completion is in question.

"It's basically been shut down for eight weeks," said Thomas Heinsz, head of the Carpenters' District Council of Greater St.
Louis and Vicinity. "Nobody wished for this situation."

Last fall, Heinsz and others complained to state and county officials about suspected illegal immigrant laborers on the O'Fallon
Lakes project. The estimated $25 million development received $14.6 million in tax-exempt bonds from the St. Charles County
Industrial Development Authority and $1.4 million in state and federal tax credits.

The complaints went mostly unnoticed until February, when O'Fallon police arrested 13 illegal immigrants affiliated with the
construction job. The men said they worked for subcontractors out of Texas employed by the project's construction company,
NRP Contractors of Cleveland. They told police that they worked seven days a week, including holidays, and were paid in cash,
most of which they wired to their families in Mexico.

The arrests led the project's local partner, Gundaker Commercial Group, to run spot checks, supervised by its president, Mike
Hejna, at the site for illegal workers.

Since those checks in February, NRP has had only a handful of its 200 subcontractors on the project, which is only about 30
percent completed. NRP is in the process of re-bidding subcontracting work to include Missouri workers, Hejna said.

NRP officials could not be reached for comment.

 

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Hejna said Gundaker was hoping to gain control of the project from the primary partner, Related Capital of New York, and has
taken action to become the lead construction company. If it does, Hejna said, the job will utilize only local union contractors.

Located off Veterans Memorial Parkway in western O'Fallon, the 266-unit apartment complex will offer reduced rent for
workers who make less than 60 percent of the area's median income.

Bill Luetkenhaus, a member of the Missouri Housing Development Commission, which awarded the tax credits, said he had
conducted two "productive" meetings between Gundaker and local trade unions to enable Gundaker to take control and complete
the stalled project using local union workers.

"We said, 'Let's try to turn this into a positive,
with organized labor and the labor unions."

Luetkenhaus said. "Obviously Gundaker has had very stressed relationships

For Gundaker to take control, several obstacles need to be overcome. NRP's winning construction bid on the project was $4
million less than any bids made by local union contractors. Luetkenhaus and others said the figure hinged on NRP's use of
inexpensive subcontractors, which, in turn, used cheap, illegal labor.

"The bids that were submitted and the package that was given to the state was not priced at a rate in which you could use
Missouri workers and local tradesmen," he said.

Gundaker recently re-solicited bids on the project, but the bids were still too high to meet the budget, Luetkenhaus said.
"The bids were not competitive enough to close the gap we had to make up to keep the project in budget." he said.

Hejna said Gundaker had pledged to fold all its profits from the construction and its tax credit income -- about $2 million
worth of profits -- back into the project to help close the budget gap. In addition, the state Housing Commission is considering
increasing its state tax credit pledge, which would automatically trigger an increase in federal tax credits.

Local unions are considering some work-rule concessions to keep costs down, though Hejna said he did not see any indication
of that in the last round of bids. Finally, Luetkenhaus said, he hopes a local union pension fund will invest and become an
equity partner in the project.

The state Housing Commission would have to ultimately sign off on a restructured project deal, but it also faces another obstacle:
Related Capital must agree to fire NRP.

"I made it very clear if I was going to spearhead this effort and pull our parties together, NRP has to go," Luetkenhaus said.
"NRP came and talked to us in February; they were not repentful for their actions."

Although Gundaker hopes to see the project fully completed by October, Luetkenhaus said the Housing Commission will not
be able to formally address the revised project until its May meeting at the earliest. Its next meeting is today, and preliminary
details are to be discussed, he said.

Hejna said, "We're not trying to make any money on this project. We're just trying to get it done."

---- Index References ----

News Subject: (Social Issues (1S005); Taxation (1TA10); Labor Unions (1LA31); Local Taxing Authorities (1L066); HR &
Labor Management (1HR87); Socio Economic Groups (1SO18); Business Management (1BU42))

Industry: (Engineering (1EN73); Accounting, Consulting & Legal Services (1AC73); Real Estate (1RES7); Residential
Construction (1RE61); Housing (1HO38); Residential Real Estate (1RE67); Construction (1CO11))

 

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Region: (Missouri (1MI10); North America (1NO39); USA (1US73); Americas (1AM92))
Language: EN

Other Indexing: (CARPENTERS: CHARLES COUNTY INDUSTRIAL DEVELOPMENT AUTHORITY; HOUSING
COMMISSION; MISSOURI HOUSING DEVELOPMENT COMMISSION; NRP; STATE HOUSING; STATE HOUSING
COMMISSION) (Bill Luetkenhaus; Fallon; Gundaker; Gundaker Commercial; Heinsz; Hejna; Located; Luetkenhaus; Mike
Hejna; O'Fallon; Thomas Heinsz)

Keywords: ILLEGAL:LABOR;ARREST:HOUSING:CONSTRUCTION:DELAY
Edition: Second Edition

Word Count: 975

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NewsRoom

6/15/06 St. Louis Post-Dispatch A1
2006 WLNR 10373275

St. Louis Post-Dispatch (MO)
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June 15, 2006
Section: News
Investor in O'Fallon Lakes sees project getting on track
Nancy Cambria ST. LOUIS POST-DISPATCH
O'FALLON

Despite a stalemate in negotiations between union officials and Gundaker Commercial Group, the company's president said
Wednesday that he is confident a beleaguered affordable housing complex will be completed by next spring by union tradesmen.

"It is my full expectation that O'Fallon Lakes will be completed on approximately the original time frame with a slight delay,"
said Gundaker President Mike Hejna.

It has been 16 weeks since construction at the site off Veterans Memorial Parkway ground nearly to a halt after 13 illegal
immigrants were discovered working for a subcontractor. The approximately $25 million project received $14.6 million in tax-
exempt bonds from the St. Charles County Industrial Development Authority and $1.4 million in state and federal tax credits
administered by the Missouri Housing Development Commission.

Late last year, construction work at the 266-unit apartment complex came under intense scrutiny after local unions accused
the project's contractor, NRP of Cleveland, of employing subcontractors that used undocumented workers. The ensuing arrests
in February supported the claims. According to police reports, the workers said they worked seven days a week and holidays,
were paid in cash and sent most of their money back to families in Mexico.

Although Gundaker is the local investor in the project, it is a minority partner and does not have control of the general contractor.
However, after the initial round of arrests, Hejna, who requested the state tax credits and county bonds for the project, was
sharply criticized not only by local unions, but by city, county and state officials, including state Treasurer Sarah Steelman,
who chairs the Missouri Housing Development Commission. Ever since, Gundaker has been trying to gain controlling interest
in the project to complete it using union workers.

Former state Rep. Bill Luetkenhaus, also a member of the Housing Development Commission, had tried to persuade unions to
invest in the project through their national pension funds to get the project on track. The move would have enabled Gundaker
and the unions to buy out the 60 percent controlling interest in the project from New York-based national lender Charter Mac
-- a move that is supported by the lender, Hejna said.

With that control, Gundaker would have been able to become the general contractor on the project, and basically dismiss NRP.

But both Tom Heinsz, organizer for the Carpenters' District Council of Greater St. Louis and Vicinity, and Hejna said the unions
have so far declined the offer.

 

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Heinsz said the pension funds prefer four-year investment terms, but the state's housing commission requires a 15-year
commitment from investors of subsidized affordable housing. He said it appeared that the funds' financial managers were also
leery of investing in a half-completed project.

Hejna said it is a missed opportunity for the unions.
"Union pension funds should be willing to invest in projects that generate union work," he said. "There's no better opportunity."

Hejna said it is now unlikely Gundaker and other local investors will take controlling interest in the project. But he said
negotiations with several parties are nearly complete and that a resulting deal would enable Gundaker to take over the
construction contract from NRP. If that occurs, work will begin immediately on the site with union tradesmen, Hejna said.
The move may come with a significant cost to Gundaker because the company could have to make up $4 million in shortfalls in
anticipated construction costs. Union officials and others associated with the project contend that NRP's original construction
bid undercut local union contractors because it was based on the use of cheap, illegal and nontaxed labor. NRP officials deny
the allegation.

Hejna declined to discuss proposed solutions to the shortfall but said he hopes to have a new financing deal in place by next
week. The Missouri Housing Development Commission meets today and Friday for both a planning session and a regular
meeting, and Luetkenhaus said the issue will be discussed.

In the meantime, just a handful of workers are currently at the site, mostly working on road widening just off the property.
Much of the exposed framing timber has turned gray from weather exposure.

"The hot sun and the rain is really harsh on the wood," Luetkenhaus said. "It twists it and it warps it. It's important to get those
buildings closed up before winter comes."

---- Index References ----

Industry: (Housing (1HO38); Residential Real Estate (1RE67); Real Estate (1RES7))
Region: (Missouri (1MI10); North America (1NO39); Americas (1AM92); USA (1US73))
Language: EN

Other Indexing: (CARPENTERS; CHARLES COUNTY INDUSTRIAL DEVELOPMENT AUTHORITY; GUNDAKER:
GUNDAKER COMMERCIAL GROUP; HOUSING DEVELOPMENT COMMISSION; MISSOURI HOUSING
DEVELOPMENT COMMISSION; NRP) (Bill Luetkenhaus; Charter Mac; Heinsz; Hejna; Luetkenhaus; Mike Hejna; Tom
Heinsz; Treasurer Sarah Steelman)

Keywords: DEVELOPMENT:EMPLOYMENT:FINANCE:HOUSING;ILLEGAL;LOCAL;NEGOTIATION
Edition: Second Edition

Word Count: 892

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NewsRoom

6/28/06 St. Louis Post-Dispatch B5
2006 WLNR 11214534

St. Louis Post-Dispatch (MO)
Copyright © 2006 St. Louis Post-Dispatch

June 28, 2006
Section: Metro
Gundaker takes over at O'Fallon Lakes
Nancy Cambria ST. LOUIS POST-DISPATCH
O'FALLON

The lead investor in the delayed O'Fallon Lakes affordable-housing project has terminated its construction contract with NRP
of Cleveland and awarded it to Gundaker Commercial Group of Clayton.

State Treasurer Sarah Steelman, chair of the Missouri Housing Development Commission, said Charter MAC of New York
has officially transferred construction responsibilities to Gundaker, a local investor in the project. The commission awarded
$1.4 million in federal and state tax credits to the project. The 266-unit apartment complex, off Veterans Memorial Parkway in
O'Fallon, also received $14.6 million in tax-exempt bonds from the county's Industrial Development Authority.

In March, work came to a standstill on the project after illegal immigrants were discovered working for NRP subcontractors at
the site. The incident caused a firestorm among local unions, elected officials and the Housing Development Commission.

The commission has since strengthened its policies so that all banks and other financing institutions involved with state-
subsidized housing projects must comply with all labor laws as well as wage requirements.

Mike Hejna, president of Gundaker, said the company is contracting with 10 to 14 local union trade contractors to complete the
project, which still needs about $15 million in construction work. Total construction on the project is expected to cost about
$25 million, he said. Hejna said he expects the project to be completed by early next year.

---- Index References ---

Company: INDUSTRIAL DEVELOPMENT AUTHORITY OF JEFFERSON COUNTY (THE)

Industry: (Housing (1HO38); Residential Real Estate (1RE67); Real Estate (1RES7))
Region: (North America (1NO39); Americas (1AM92); USA (1US73))

Language: EN

 

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Gundaker RSs bye ae OS POBATALY Sabi PP cument 26-2 Filed 01/13/12 Page 21 of 28

 

Other Indexing: (GUNDAKER COMMERCIAL GROUP; HOUSING DEVELOPMENT COMMISSION; INDUSTRIAL
DEVELOPMENT AUTHORITY; MISSOURI HOUSING DEVELOPMENT COMMISSION; NRP; VETERANS
MEMORIAL PARKWAY) (Gundaker; Hejna; Mike Hejna; Sarah Steelman)

Keywords: CONSTRUCTION:CONTRACT:IMMIGRATION
Edition: Second Edition

Word Count: 296

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NewsRoom

10/4/07 St. Louis Post-Dispatch B2
2007 WLNR 19570388

St. Louis Post-Dispatch (MO)
Copyright © 2007 St. Louis Post-Dispatch

October 4, 2007
Section: Metro
Nixon alleges 'secret bailout’ for O'Fallon project
Nancy Cambria ST. LOUIS POST-DISPATCH The Associated Press contributed to this report.

Missouri Attorney General Jay Nixon lambasted some members of the state's housing commission Wednesday, accusing them
of granting a "secret bailout" worth millions in additional tax breaks to a development tied to illegal immigrant labor in O'Fallon.

Nixon said the commission, under the guidance of then-chair, state Treasurer Sarah Steelman, and its executive director, Peter
Ramsel, bypassed a required full commission vote and promised some $4 million in additional state tax credits to Gundaker
Commercial Group in August 2006. He called for the commission to immediately block the credits, which have yet to be issued.

The additional credits were intended to help Gundaker, a minority investor, buy out the contractor in the complex partnership
and pay for more expensive union labor to finish the project. In February of last year, subcontractors for NRP of Cleveland
were found to be using illegal immigrant workers at the construction site.

Steelman said Wednesday that Nixon's remarks were politically motivated. Nixon, a Democrat, is running for governor;
Steelman is a Republican.

"Nothing was done in secret," she said. "I wanted to make sure Gundaker didn't get any tax credits if it was going to have illegal
workers. They fixed it, and they hired all union labor."

Ramsel could not be reached for comment. The commission's chairman, Richard Baalmann, pledged Wednesday to look into
the matter.

In total, Gundaker has been promised more than $21.4 million in state and federal tax credits through the commission and $16.6
million in tax exempt bonds for the project.

Mike Hejna, president of Gundaker, said his company never employed the illegal labor and defended the additional tax breaks.
"They were awarded to the project so the project could afford to hire local union tradesman to complete the work," he said.
Nixon's office is also investigating allegations of illegal immigrant workers at another O'Fallon project receiving tax credits.

Nixon said not only was Steelman involved in the Gundaker tax credit decision, but it also included Gov. Matt Blunt's then-
representative to the commission, Rob Monsees. Last year both Steelman and Blunt called for sanctions and other punishments
of Gundaker after the arrests of undocumented workers on the site.

 

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"These documents reveal that while some were firing news releases condemning Gundaker's use of undocumented workers
out the front door, millions in state tax credits and tax-exempt bonds were being secretly funneled to Gundaker out the back
door," Nixon said.

Nixon and Blunt, the likely contestants for next year's gubernatorial election, have sparred about immigration policies.

Richard Chrismer, a spokesman for Blunt, said Nixon and the entire housing commission were aware of the situation with
Gundaker, and that Nixon should back Blunt's initiatives instead of lambasting Steelman. Blunt has called for a lifetime tax
credit ban against developers who use illegal labor.

Housing commission internal e-mails provided by Nixon's office indicate that Steelman, Ramsel and various aides at first
negotiated giving Gundaker a loan on behalf of the commission. That was later scrapped for the additional tax credits - of which
Ramsel said "the downside is that we just rewarded bad behavior."

In one e-mail to Steelman's deputy treasurer, Doug Gaston, Ramsel proposed that "we do our thing very quietly, and at the
staff level."

News of the additional tax credits infuriated O'Fallon officials.

"The left hand is giving the money out, while the right hand is shaking the finger," said O'Fallon Mayor Donna Morrow.

---- Index References ----

News Subject: (Local Taxing Authorities (1L066); Social Issues (1SO05); Taxation (1TA10); Immigration & Naturalization
(1IM88))

Industry: (Accounting, Consulting & Legal Services (1AC73))

Region: (North America (1NO39); Americas (1AM92); USA (1US73))

Language: EN

Other Indexing: (GUNDAKER; GUNDAKER COMMERCIAL GROUP) (Blunt; Donna Morrow; Doug Gaston; Fallon; Jay
Nixon; Matt Blunt; Mike Hejna; Missouri Attorney; Nixon; O'Fallon; Peter Ramsel; Ramsel; Richard Baalmann; Richard
Chrismer; Rob Monsees; Steelman: Treasurer Sarah Steelman)

Edition: Third Edition

Word Count: 714

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NewsRoom

12/27/07 St. Louis Post-Dispatch C3
2007 WLNR 25491804

St. Louis Post-Dispatch (MO)
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December 27, 2007
Section: Metro
Controversial tax credits granted
Joel Currier ST. LOUIS POST DISPATCH
O'FALLON, MO.
The state housing development commission has awarded a beleaguered housing project nearly $9 million more in tax credits.

The Missouri Housing Development Commission last week approved $8.85 million more in state and federal tax credits over 10
years to cover some construction costs for Gundaker Commercial Group, developer of the 266-unit O'Fallon Lakes apartment
complex. Gundaker had been eligible for up to $10.7 million in credits over 10 years.

After illegal workers were found at the site, Gundaker took over the development and used local union trade contractors to
finish the job.

Brandon Laster, spokesman for the state's housing commission, said Wednesday the decision was not meant to reward job sites
with undocumented workers.

"Our goal was to get this project done for the least amount of cost to Missouri taxpayers," Laster said. "We want to be sure that
none of these job sites that have state tax credits employ illegal workers. That's a top concern for us."

The $34.5 million project completed this fall had already received $1.4 million in state and federal tax credits through the
state housing commission and another $14.6 million in tax-exempt bonds from the St. Charles County Industrial Development
Authority. Construction of the complex, which began in 2004, has faced intense scrutiny after illegal immigrants found in
O'Fallon said they were working for subcontractors for the Cleveland-based firm NRP. Gundaker, a partner in the project, later
took over the development.

Mike Hejna, president of Gundaker, said the commission should have allocated the maximum eligible tax credit because his
company is facing a $7 million shortfall stemming from higher loan payments as well as increased labor and material costs.

"We stepped in to fix a problem that we didn't cause," Hejna said. "We would have been much better off walking away from
the project, but the O'Fallon community would have been negatively impacted."

O'Fallon City Administrator Robert Lowery Jr. said he is disappointed with the commission's decision and criticized it for
what he says is a failure to address the practice of hiring illegal workers. The problem, he says, has twice hurt the city over
the past two years.

 

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"That's where this whole mess began - with O'Fallon Lakes," Lowery said.

Mayor Donna Morrow says the troubles over the O'Fallon Lakes development exposes the lack of local government oversight
in state-supported affordable housing projects.

Last Thursday, prosecutors accused an Oklahoma-based drywall company of using bogus Social Security numbers for workers
building another apartment complex in O'Fallon, and avoiding paying state withholding tax. The 220-unit affordable-housing
complex, Southernside, is partly funded by more than $26 million in state and federal tax credits and tax-exempt bonds. The
site has been linked to illegal immigrant workers by city and union officials.

Correction published Friday, December 28, 2007.

The Missouri Housing Development Commission has awarded a $2.85 million tax credit increase to Gundaker Commercial
Group's affordable-housing project, O'Fallon Lakes. An incorrect figure was reported in some editions of Thursday's Metro
section.

---- Index References ----
News Subject: (Social Issues (18005); Taxation (1TA10); Local Taxing Authorities (1L066); Socio Economic Groups
(1SO18); Government (1GO80); Local Government (1LO75))

Industry: (Accounting, Consulting & Legal Services (1AC73); Construction Regulatory (1CO33); Real Estate (1RES7):
Residential Construction (1RE61); Housing (1HO38); Residential Real Estate (1RE67); Real Estate Regulatory (1RES3);
Construction (1CO11))

Region: (Missouri (1MI10); North America (1NO39); USA (1US73); Americas (1AM92))
Language: EN

Other Indexing: (CHARLES COUNTY INDUSTRIAL DEVELOPMENT AUTHORITY; CONTROVERSIAL;
GUNDAKER; GUNDAKER COMMERCIAL GROUP; MISSOURI; MISSOURI HOUSING DEVELOPMENT
COMMISSION; O) (Brandon Laster; Correction; Donna Morrow; Fallon; Hejna; Laster; Mike Hejna; Robert Lowery Jr.:
Southernside)

Keywords: TAX;DEVELOPMENT:BUSINESS;CONSTRUCTION:IMMIGRATION
Edition: Third Edition

Word Count: 639

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NewsRoom

6/6/08 Springfield News-Leader (Springfield, Mo.) A3
2008 WLNR 26837905

Springfield News-Leader (Springfield, MO)
Copyright © 2008 Gannett

June 6, 2008
Section: Main
Content of Steelman's immigration ad disputed
June 6, 2008
News-Leader

State Treasurer Sarah Steelman flexes her tough-on-illegal-immigration muscles in a television ad now airing on channels
across the Ozarks.

Staff

"When a company on a state building project hired illegal immigrants with criminal violations, Sarah Steelman blocked state
tax credits, forced the company off the job, replacing illegal workers with new Missouri jobs," the announcer says.

But like many campaign ads this election season, there's more to the story behind the 30 seconds used to package Steelman's
record on immigration issues.

In actuality, there were three companies Steelman first took to task in a Feb. 16, 2006 press release after five illegal immigrants
were found on a state housing development job site: NRP Contractors, Related Capital of New York and Gundaker Commercial
Group of Chesterfield.

"The use of illegal aliens is inexcusable and will not be tolerated," Steelman said in a statement at the time. "This practice is
going to stop. The state will not do business with developers who think they can rip off the taxpayers and workers of Missouri."

But under Steelman's direction as chair of the Missouri Housing Development Commission, the state later did "do business"
with Gundaker.

The company did not, however, receive a tax credit in the affordable housing project in St. Charles County involving illegal
workers.

NRP Contractors of Cleveland is the company the television ad is meant to reference, not Gundaker, Steelman said.

Gundaker was a minor partner in the project, handling just the real estate transaction and agreeing to manage the 266-unit
complex once construction was complete, said Mike Hejna, president and CEO of Gundaker.

 

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After Federal Immigration and Naturalization Service agents refused to crack down on NRP's use of subcontractors with
undocumented workers, Hejna said he and his staff personally ordered the illegal workers off the job site after requesting to
see valid identification from all workers on site.

"With Sarah Steelman's help, we ended up influencing the (bank) to fire NRP, and at cost to Gundaker Commercial Group, we
took over the project, which is still controlled by a bank," Hejna told the News-Leader on Thursday.

Since NRP was the principle partner in the O'Fallon Missouri Housing Development construction site, Steelman said Gundaker's
hands were tied and it couldn't control NRP subcontractors for hiring undocumented workers.

"Gundaker couldn't do anything because NRP was the controlling partner," Steelman told the News-Leader.

Five months after the bust at job site in O'Fallon, the state housing commission Steelman controls approved $4 million in new
state tax credits for Gundaker housing projects in St. Louis, state records show. In April 2007, Gundaker received part of a $58
million state bond for another affordable housing project.

And since June 2006, Steelman has received $19,575 from Gundaker and its related entities -- $12,150 of which was deposited
into Steelman's gubernatorial campaign coffers in March, according to records on file with the Missouri Ethics Commission.

Although Steelman and other politicians initially chastised Gundaker following the discovery of illegal workers, Hejna said
there was a rush to judgment and his company was eventually exonerated. Since they were a partner in the project, there was
guilt by association, Hejna said.

But more than two years later, Steelman's Republican primary opponent, U.S. Rep. Kenny Hulshof, and the Missouri Democratic
Party are seeking to politically capitalize on Steelman's initial press release, which implicates Gundaker.

"Political parties tend to take brief versions of that and spin it for political purposes," Hejna said. "We are donors for both
Republicans and Democrats and are proud of the fact of those folks we support because we feel they provide great leadership
to the state. It's unfair to Sarah because she took a leadership role in it."

The television ad, which has been airing heavily in politically conservative southwest Missouri, says Steelman has the "guts"
to be governor.

Labeling the television ad as "false advertising," the Missouri Democratic Party on Thursday called on Steelman to return the
money -- a demand she refused to comply with.

"It takes 'guts' to run an ad that misleading," said Jack Cardetti, spokesman for the Missouri Democratic Party. "It just seems
extremely hypocritical."

Steelman said she's done nothing wrong and that Gundaker's donations were not solicited as a favor for tax credits and state
projects.

"I get lots and lots of contributions from people and companies," Steelman told the News-Leader. "I think these charges are
just ridiculous."

Steelman said she took on NRP because Attorney General Jay Nixon, a member of the housing commission, was "nowhere
to be found to solve this."

"So I stepped up to the plate and did something," Steelman said.

Nixon was absent from 26 of the housing commission's 28 meetings from January 2005 to August 2007, according to the official
minutes of those meetings. A spokesman for Nixon said when the Democratic attorney general wasn't present at state meetings,
he always sent a representative.

 

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Campaign 2008: View the latest campaign commercials from Republican gubernatorial candidates Kenny Hulshof and Sarah
Steelman.

Election forum: Join us online to discuss the fall campaign. Who do you support and why? You can participate by creating an
account in our forum today at News-Leader.com/forums/elections

---- Index References ---
Company: FALLON

News Subject: (Taxation (1TA10); Social Issues (1SO05); Public Affairs (1PU31); Local Taxing Authorities (1L066);
Immigration & Naturalization (1IM88); Government (1GO80); Political Parties (1PO73))

Industry: (Accounting, Consulting & Legal Services (1AC73); Real Estate (1RES7); Housing (1HO38); Press Releases
(1PR19))

Region: (Missouri (1MI10); North America (1NO39); USA (1US73); Americas (1AM92))
Language: EN

Other Indexing: (FALLON; FALLON MISSOURI HOUSING DEVELOPMENT; FEDERAL IMMIGRATION AND
NATURALIZATION SERVICE; GUNDAKER; GUNDAKER COMMERCIAL GROUP; MISSOURI; MISSOURI
DEMOCRATIC PARTY; MISSOURI ETHICS COMMISSION; MISSOURI HOUSING DEVELOPMENT COMMISSION:
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